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US. RISTRICT COURT

IN THE UNITED STATES DISTRICT COURT 00 NOV -3 PM U0]

FOR THE EASTERN DISTRICT OF TEXAS _* EASTERN- BEAUMONT

LUFKIN DIVISION AO ? —
§
FELIPE REYES
§
VS. CIVIL ACTION NO. 9:00CV263
§
GEORGE WILLIAMS, ET AL
§

PRELIMINARY FILING FEE ORDER

The Prison Litigation Reform Act requires prisoners seeking to bring civil actions to pay
the full filing fee. When insufficient funds exist to pay the full fee at the time of filing, a
prisoner requesting to proceed in forma pauperis is required to pay an initial partial filing fee
of twenty percent of the greater of the average monthly balance or deposits into the prisoner’s
account. After payment of the initial partial filing fee, twenty percent of each preceding month’s
income will be deducted from plaintiff’s inmate account monthly until the full filing fee is paid.

Plaintiff’s application to proceed in forma pauperis does not state the current balance in
plaintiff's prisoner account, the average monthly balance for the preceding six-month period or
the average monthly income for the same period. In order for the court to assess the initial
partial filing fee, it is necessary for plaintiff to submit a statement certified by an authorized
TDCIJ-ID official showing his average balance in and deposits into plaintiff’s inmate trust
account for the six month period immediately preceding the filing of the complaint.

It is ORDERED that:

Felipe Reyes, TDCJ #776902, shall, within twenty (20) days from the date set forth
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below, submit a statement certified by an authorized TDCJ-ID official showing the average
balance in and deposits into plaintiff’s inmate trust account during the preceding six months.
Failure to comply with order may result in this case being dismissed for want of prosecution
pursuant to Federal Rule of Civil Procedure 41(b).

NOTICE TO PLAINTIFF:

a. If you do not wish to prosecute this action, you may notify the Court in writing,
by letter or motion that you wish to volutarily dismiss this civil action.

b. Payment of all or any part of the full filing fee will not prevent dismissal of the
complaint if it is frivolous, malicious, fails to state a claim upon which relief may be
granted, or seeks monetary relief from a defendant who is immune from such relief.

c. State law requires the forfeiture of good conduct time credits as a sanction for
any state or federal lawsuit brought by an inmate while in the custody of the Texas
Department of Criminal Justice, Institutional Division which is dismissed as frivolous or

malicious. TEX. GOVT. CODE ANN. § 498.0045 (WEST 1995).

SIGNED this__Z-_ day of Wacrecubese) 2000.

WENDELL C. RADFORD ; ™

UNITED STATES MAGISTRATE JUDGE

